                 Case 2:20-mj-00324-MLP Document 11 Filed 06/22/20 Page 1 of 3



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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                              Plaintiff,                 Case No. MJ20-324

10          v.                                             DETENTION ORDER

11   DEVINARE ANTWAN PARKER,

12                              Defendant.

13

14   Offenses charged:

15          Count 1:        Unlawful Possession of a Destructive Device, 26 U.S.C. § 5861(d) and 26
                            U.S.C §§ 5845(a)(8), (f)(2)
16
     Date of Detention Hearing: On June 22, 2020, the Court held a hearing via a WebEx
17
     videoconference, with the consent of Defendant Parker, due to the exigent circumstances as
18
     outlined in General Order 08-20. This detention order is without prejudice to renewing once the
19
     court has reconstituted in-person hearings.
20
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the reasons for detention hereafter set forth, finds:
22
             FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            1.       Upon advice of counsel, Defendant declined to be interviewed by Pretrial



     DETENTION ORDER - 1
                Case 2:20-mj-00324-MLP Document 11 Filed 06/22/20 Page 2 of 3



 1                  Services. Therefore, there is limited information available about him.

 2         2.       Defendant stipulated to detention.

 3         3.       Defendant poses a risk of nonappearance due to a prior failure to appear, the

 4                  limited information known about possible ties to this district and his background,

 5                  his criminal history showing prior arrests in multiple states, and possible mental

 6                  health issues. Defendant poses a risk of danger due to his criminal history,

 7                  possible mental health issues, and the nature of the offense. There does not appear

 8                  to be any condition or combination of conditions that will reasonably assure the

 9                  Defendant’s appearance at future court hearings while addressing the danger to

10                  other persons or the community.

11         IT IS THEREFORE ORDERED:

12         (1)      Defendant shall be detained pending trial, and committed to the custody of the

13                  Attorney General for confinement in a correction facility separate, to the extent

14                  practicable, from persons awaiting or serving sentences or being held in custody

15                  pending appeal;

16         (2)      Defendant shall be afforded reasonable opportunity for private consultation with

17                  counsel;

18         (3)      On order of a court of the United States or on request of an attorney for the

19                  government, the person in charge of the corrections facility in which Defendant is

20                  confined shall deliver the Defendant to a United States Marshal for the purpose of

21                  an appearance in connection with a court proceeding; and

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     DETENTION ORDER - 2
             Case 2:20-mj-00324-MLP Document 11 Filed 06/22/20 Page 3 of 3



 1         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

 2               counsel for the Defendant, to the United States Marshal, and to the United States

 3               Pretrial Services Officer.

 4         DATED this 22nd day of June, 2020.

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 7                                                     MICHELLE L. PETERSON
                                                       United States Magistrate Judge
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     DETENTION ORDER - 3
